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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

                                                    §
    IN RE:                                          §       CASE NO: 20-10846
                                                    §
    THE ROMAN CATHOLIC CHURCH                       §       CHAPTER 11
    OF THE ARCHDIOCESE OF NEW                       §
    ORLEANS,                                        §       COMPLEX CASE
                                                    §
    DEBTOR.                                         §       SECTION A
                                                    §

                                                ORDER

          Before the Court is the Omnibus Joint Stipulation Concerning John TB Doe, John CP Doe,

   John KW Doe, L.P., and John JB Doe’s Motions For Leave To File Sexual Abuse Survivor Proofs

   of Claim (the “Joint Stipulation”), [ECF Doc. 4108], jointly filed by The Roman Catholic Church

   of the Archdiocese of New Orleans (the “Debtor”) and John TB Doe, John CP Doe, John KW Doe,

   L.P., And John JB Doe (each a “Claimant;” collectively, the “Claimants;” and together with the

   Debtor, the “Parties”), as well as the following motions:

          •   John TB Doe’s Motion For Leave To File Sexual Abuse Survivor Proof of Claim, [ECF
              Doc. 3951];

          •   John CP Doe’s Motion For Leave To File Sexual Abuse Survivor Proof of Claim, [ECF
              Doc. 3960];

          •   John KW Doe’s Motion For Leave To File Sexual Abuse Survivor Proof of Claim, [ECF
              Doc. 3962];

          •   L.P.’s Motion For Leave To File Sexual Abuse Survivor Proof of Claim, [ECF Doc.
              3983]; and

          •   John JB Doe’s Motion For Leave To File Sexual Abuse Survivor Proof of Claim, [ECF
              Doc. 3985],

   (collectively, the “Motions For Leave”).

           Considering the Joint Stipulation filed by the Parties on the record in this case,
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           IT IS ORDERED that the Joint Stipulation is APPROVED, and as set forth in the Joint

   Stipulation, each Claimant may file a Sexual Abuse Survivor Proof of Claim, but the Debtor and

   all parties in interest maintain and reserve their rights to object to the claim on any basis including,

   but not limited to, that the claim is late filed. Each Claimant reserves his or her right to argue any

   defense to any objection, including, but not limited to, that the claim is allowable due to the

   concept of excusable neglect. The Court retains jurisdiction with respect to all matters arising

   from or related to the implementation of the Joint Stipulation.

           IT IS FURTHER ORDERED that the Debtor is instructed to serve this Order by first-

   class U.S. Mail within three days on all parties not receiving electronic notice through this Court’s

   CM/ECF system pursuant to applicable Federal Rules of Bankruptcy Procedure, this Court’s Local

   Rules, this Court’s Complex Case Procedures (if applicable), and any Order issued by this Court

   limiting notice and file a certificate of service into the record.

           New Orleans, Louisiana, July 14, 2025.


                                                   __________________________________________
                                                             MEREDITH S. GRABILL
                                                      UNITED STATES BANKRUPTCY JUDGE




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